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EXHIBIT D
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                          THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE
    In re:                                                       Chapter 11

    PGX HOLDINGS, INC., et al. ,                                 Case No. 23-10718 (CTG)

                                      Debtors.1                  (Jointly Administered)

    KIRSTEN HANSEN on behalf of herself and all
    others similarly situated,

                                      Plaintiff,                 Adv. Proc. No. 23-50396 (CTG)
                     v.

    PGX HOLDINGS, INC.; PROGREXION
    HOLDINGS, INC.; PROGREXION
    TELESERVICES, INC.; PROGREXION
    MARKETING, INC.; PROGREXION ASG,                             Re: Adv. D.I. ____
    INC.; PROGREXION IP, INC,; EFOLKS, LLC;
    CREDITREPAIR.COM, INC.; CREDIT.COM,
    INC.; and JOHN C. HEATH, ATTORNEY AT
    LAW, PLLC,

                                      Defendants.



                               ORDER GRANTING
              MOTION FOR CLASS CERTIFICATION AND RELATED RELIEF

             AND NOW, upon consideration of Plaintiff’s Motion for Class Certification and Related

Relief, the proposed Notice to the Class, and the Court being otherwise advised in the premises,

and upon finding that the proposed class meets the requirements of Fed. R. Civ. P. 23(a) and (b)

and Rule 23(b)(3), as made applicable by Fed. R. Bankr. P. 7023, it is hereby,

             ORDERED that the Motion is GRANTED; and it is


1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: PGX Holdings, Inc. (2510); Credit Repair UK, Inc. (4798); Credit.com, Inc. (1580); Creditrepair.com
Holdings, Inc. (7536); Creditrepair.com, Inc. (7680); eFolks Holdings, Inc. (5213); eFolks, LLC (5256); John C.
Heath, Attorney at Law PC (8362); Progrexion ASG, Inc. (5153); Progrexion Holdings, Inc. (7123); Progrexion IP,
Inc. (5179); Progrexion Marketing, Inc. (5073); and Progrexion Teleservices, Inc. (5110). The location of the
Debtors’ service address for purposes of these chapter 11 cases is: 257 East 200 South, Suite 1200, Salt Lake
City, Utah 84111.
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        FURTHER ORDERED that a class is certified, defined as:


        Plaintiff and other similarly situated employees of Defendants: (i) who worked at, received
        assignments from, or reported to the Facilities, (ii) who were terminated without cause
        within 90 days of April 5, 2023, or in reasonable anticipation of or as the reasonably
        foreseeable consequence of the mass layoffs or plant closings ordered by Defendant on or
        about April 5, 2023, (iii) who are “affected employees” within the meaning of 29 U.S.C. §
        2101(a)(5), and (iv) who have not filed a timely request to opt-out of the class; and it is

        FURTHER ORDERED that Raisner Roupinian LLP is hereby appointed Class Counsel;

and it is

        FURTHER ORDERED that Kirsten Hansen is hereby appointed Class Representative; and

it is

        FURTHER ORDERED that the proposed form of Notice to the Class submitted to the

Court is approved; and it is

        FURTHER ORDERED that within ten (10) days after the entry of this Order, Defendants

shall provide Class Counsel with the names and addresses of the class members as noted in

Defendants’ records; and it is

        FURTHER ORDERED that on or before fifteen (15) business days after receipt from

Defendants of the names and addresses of the Class members, Class Counsel shall provide notice

of the pendency of the class action lawsuit by mailing the Notice, First Class postage prepaid, to

all class members to their last known address as noted in the records of the Defendants; and it is

        FURTHER ORDERED that after such mailing, Class Counsel shall serve and file a sworn

statement affirming compliance with this Order concerning the mailing of the Notice; and it is

        FURTHER ORDERED that the deadline for any Class Member to opt-out of the Class

shall be 30 days from the date of mailing of the Notice; and it is

        FURTHER ORDERED that after the opt-out deadline has expired, Class Counsel shall
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serve and file a sworn statement listing the names of any persons who have opted out of the Class;

and it is

        FURTHER ORDERED that Notice in compliance with this order is hereby found to be the

best notice practicable under the circumstances and constitutes due and sufficient notice to all class

members in full compliance with the notice requirements of Fed. R. Civ. P. 23.

        AND IT IS SO ORDERED.
